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Exhibit 01B
Part 3
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EXHIBIT 12A
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Compensation Framework for Wetlands Real Property Claims

1. Eligibility Requirements
A. Eligible Claimants shall be comprised of claumants who do not fall withm the

C.

exclusions to the Economic Loss and Property Class Definition and who were
owners of Eligible Parcels dummeg the time period Apnl 20, 2010 to [the date of the
Settlement Agreement].

L = - The Claims Admimistrator shall detemmme whether an Eligible Claimant(s) 1s the
owner of an Eligible Parcel.

Wetlands Real Property Claim Zone shall be defined as the blue shaded portions of
the Wetlands Real Property Compensation Zone Map attached as Appendix A. (See
iB for a description of the cnitena used to establish the “Wetlands Real

Appendix B
Property Claim Zone”).

Eligible Parcels shall be defined as parcels located withm the Wetlands Real
Property Claim Zone.

D. An Eligible Parcel shall be placed mto one of two Compensation Categories:

Compensation Category A shall be defined as those Eligible Parcels that were
documented as contammme the presence of oil by one or more of the following:

= The published reports of the Deepwater Horizon Unified Command
Shorelme Cleanup Assessment Techmque teams (“SCAT").

= The Pre-assessments conducted as part of Phase 1 of the Natural Resource
Damages Assessment process (“NRD Pre-assessment’).

= The Rapid Assessments conducted as part of Phase 1 of the Natural
Resource Damages Assessment process (“NRD Rapid Assessment”).

= The Coastal Wetland Vegetation Assessment conducted as part of the
Restoration Planmmng Phase of the Natural Resource Damages Assessment
process (“NRD CWVA").

Compensation Category B shall be defined as those Eligible Parcels that were
never documented as comtamme the presence of oil by any of the followme:
SCAT, NRD Pre-assessment, NRD Rapid Assessment, or NRD CWVA.

~ = .An Eligible Parcel shall be classified as having the presence of oil (critema for
Compensation Category A) if the parcel meets any of the followimg conditions:

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Any SCAT Zone! within the parcel has a oulmg
classification other than “no oil observed.” A “SCAT Zone” is an area
within a SCAT Segment which has a boundary defined by the
condition of oil observed dunng a survey by SCAT assessment teams
in the Louisiana wetlands.

Any NRD Pre-assessment conducted within the parcel reported the
presence of oil on vegetation and/or sediment.

Any NRD Rapid Assessment conducted with the parcel reported an
Oil Thickness Code of anything other than “NA” or recorded a Depth
of Penetration greater than zero.

Any NRD CWVA conducted within the parcel reported a Vegetation
Ouimg Extent Index of greater than zero or a Sediment Surface Oiling
Coverage of greater than zero.

i => An Eligible Parcel shall be classified as never beg documented as contammeg
the presence of ol (critena for Compensation Category B) if the followmg
conditions are met for each assessment conducted within the Eligible Parcel:

a

No SCAT zone within the parcel has a maxmaum oiling classification
other than “no oil observed.”

No NRD Pre-assessment conducted within the parcel reported the
presence of oil on vegetation and/or sediment.

No NRD Rapid Assessment conducted within the parcel reported an
Oil Thickness Code other than “NWA” and reported a Depth of
Penetration greater than zero.

No NRD CWVA conducted within the parcel reported a Vegetation
Oulmg Extent Index greater than zero or a Sediment Surface Ouling
Coverage greater than zero.

(NOAA) Office of

' For the purposes of calculating the Wetlands Real Property Compensation Amount, the Clams

Adminstrator will use ee ea eanes defined by the Maximum Orting Otsaveayue
website, which was developed jomtly by the National Oceenic and Atmosphenc Administration
Response and Restoration, the University of New Hampshire, and the U.S.
Environmental Protection Agency. The Maxmom Oulmg Observed file can be wewed and

downloaded on the ERMA Gulf Response website at bttp.//pomex emma pose cov’. To access the
file, select “SCAT” and then select “Maxinmam Oilmg Observed.”

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m. Administrator's Database: The Claams Admumsirator shall maimtam a
Geographic Information Systems database (“Administrator’s Database”)
contaming the results of SCAT, NRD Pre-assessment, NRD Rapid Assessment,
NRD CWVA, and the best available mformation on parcel boundanes for all real
property within the Wetlands Real Property Claim Zone. The Claims
Administrator shall apply the appropriate Compensation Category for each
Eligible Parcel based upon the information in the Administrator’s Database and
consistent with the critena in Section 1. D. Attached as Appendix C is a map
classifymg each known Eligible Parcel mto a Compensation Category by
applying the information m the Administrator's Database as of the settlement
date. This map shall be referred to as the Eligible Parcel Compensation
Category Map. The Administrator’s Database is presumed to be the best
available evidence, however, that presumption may be rebutted as outlined m
Sections E.. F.,G. and H. below. The use of environmental data (mcluding SCAT
and NWRDA data) as part of tis Compensation Framework shall not constitute an
admission or judicial determination related to the admussibility or interpretation of
such data for any other purpose, and, further, the use of such data shall have no
effect on, and shall be without prejudice to, the use, admussibility and
Interpretation of such data for any other purpose, mcluding any claims for natural
resource damages.

E. A parcel not located within the Wetlands Real Property Claim Zone may be added to
the Wetlands Real Property Claim Zone by the Clams Adnmumistrator only if the
parcel is documented as contaimme the presence of oil pursuant to SCAT or an official
assessment conducted by the Natural Resource Trustees m connection with the DWH
Spill. Only parcels located in the followmg geographic area (“Area of Potential
Eligibility”) are eligible to prowide such documentation:

LAs far west as the Lowisiana/Texas state Ime
i «©>-s As far east as the Lowisiana/Mississippi state lime
m. As far south as the end of Lousiana state waters

iv. As far north as one half mile mland fom the Wetlands Real Property Claim
Zone to A i D for the “Area of Potential Eligi

F. The Administrator’s Database contams the best available parcel boundary data for
real property in the Wetlands Real Property Claim Zone. In some mstances, this data
may be mcomplete or out of date. Accordingly, real property located m the Wetlands
Real Property Claim Zone not identified as a parcel shall nonetheless be classified by

* This map shows the boundaries withm which parcel owmers are eligible to submit additional
documentation to become Eligible Parcels.

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the Clams Admumstrator as an Eligible Parcel provided the clammant documents the
following:

L

Actual presence of the parcel m the Wetlands Real Property Claim Zone.
Documentation of actual presence of a parcel m the Wetlands Real Property
Claim Zone nmst consist of an official document provided by the pansh tax
assessor (such as a 2010 pansh tax notice), Clerk of Court, Registrar of Lands, or
other governmental lands office or agency, or a professional survey of the parcel.

G. The Administrator’s Database contams the best available parcel boundary data for
Teal property in the Wetlands Real Property Claim Zone. In some imstances, the
named owner(s) of a parcel may be maccurate or out-of-date. Accordingly, a clammant
not listed m the Administrator’s Database will be treated as an Eligible Claimant if
the claimant provides the followmg to demonstrate Eligible Claimant's ownership of
an Eligible Parcel:

L

An official copy of the deed for the Eligible Parcel.
AND

The 2010 property tax assessment notice for the eligible parcel or an official
document from the Clerk of Court, Registrar of Lands or other governmental land
office or agency showing proving ownership of the Eligible Parcel during the
time period April 20, 2010 to ithe date of the Settlement Agreement]?

To the extent a state, pansh, mumicipality or other governmental agency agrees to
provide the Clams Admimstrator with access to an official database sufficient for
the Claims Admumistrator to confirm the clamant owned the parcel for which they
are seeking compensation, the Claims Administrator need not require from the
Eligible Claimant an official copy of the deed or official copy of the 2010
property tax assessment notice for the parcel for which they are seeking

Rather, the Claims Administrator is authonzed to accept from the
claimant the street address and tax identification number or parcel identification
number for the Eligible Parcel for which they are seeking compensation as
sufficient to satisfy this subpart, and the Clams Admmustrator will use the
database to confinn the clamant’s valid ownership dummg the tme penod Apml
20, 2010 to [the date of the Settlement Agreement].

*Tn some counties, issuance of 2010 tax assessment notices may occur poor to Apmil 20, 2010

such that the correct owner of the eligible parcel may not be reflected, (for example if notices

were mailed January 2010 but ownership changed Febmary 2010). In such a case, a clammant
may provide other documentation such as a copy of the real estate closme/settlement statement

from a sale, m order to prove ownership.

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H_ An Eligible Parcel within the Wetlands Real Property Claim Zone may be
reclassified by the Claims Admumistratar inte a different Compensation Category if
the following condition is satisfied:

L An Eligible Parcel within the Wetlands Real Property Claim Zone shall be
reclassified by the Clams Admumistrator from Compensation Category B to
Compensation Category A if the Eligible Claimant provides independent
documentation im the form of a government or academic publication or map, not
commussioned by the Eligible Claimant or the Eligible Claimant’s attomey or
agent, with said Independent documentation establishing that a portion of the
Eligible Parcel contamed the presence of oil although no portion of the Eligible
Parcel ts classified as contammeg the presence of oil pursuant to the published

reports of SCAT, NRD Pre-Assessment, NRD Rapid Assessment or NRD
CWVA.

tm = The Claims Admimistrator shall undertake an investigation to determune whether
the infonmation submutted pursuant to this Section satisfies the criteria for
reclassification set out H. i. and H. 1

2. Compensation for Wetlands Real Property

A. An Eligible Claimant must submit a Claim Form’, all required supporting documents
and a Verification Statement to receive compensation for an Eligible Parcel. The
Claim Form, Document Requirements and Verification Statement are attached as
Appendices E. F and G.

B. An Eligible Claimant who submuts a Claim Form, all required supportmg documents,
and a Verification Statement, shall be entitled to receive the appropriate Wetlands Real
Property Compensation amount (“Wetlands Real Property Compensation Amount”)
based upon the cntena outlmed m this section.

C. The Wetlands Real Property Compensation Amount shall be calculated as explamed
below. See Appendix H for an example calculation of Wetlands Real Property

Compensation Amount on a hypothetical parcel m Compensation Category A.

1. An Eligible Parcel m Compensation Category A shall be compensated for
an Oiled Primary Area, a Non-Oiled Primary Area, and a Buffer Area.

un. An Eligible Parcel in Compensation Category B shall be compensated for a
Non-Oiled Primary Area only.

“The Claims Admimistrator may prepare the final Clam Form consistent with Appendix E. In
no case shall the fnal Claim Form onut the substance of any question contamed m Appendix E.

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Vu.

Oiled Primary Area shall be defined as an area 50 feet uomediately mland
from the following:

a. The SCAT Zone(s) documented as contamng the presence of oil withm
an Eligible Parcel that is located on the portion of the shorelme assessed
by SCAT teams (“SCAT Line”).

b. The SCAT Zone nearest to the location of any NRD Pre-assessment,
NRD Rapid Assessment, or NRD CWVA which reported the presence of
oil withm an Eligible Parcel ifno SCAT Zone also within the parcel
reported the presence of oil.

Buffer Area shall be defined as an area 30 feet immediately mland from the
entire length of the Oiled Primary Area.

Non-Oiled Primary Area shall be defined as an area 30 feet mmediately
inland from SCAT Zone{s) documented as not contamme the presence of oil
within an Eligible Parcel.

Eligible Parcels in Compensation Category A shall be paid a Wetlands
Real Property Compensation Amount calculated as follows:

a. The Oiled Primary Area shall be compensated at $25,000 per acre
(Oiled Rate”).

b. The Buffer Area shall be compensated at $10,000 per acre (“Buffer
Rate”).

c. The Non-Oiled Primary Area shall be compensated at $11,000 per acre
(“Non-Oiled Rate”).

Eligible Parcels in Compensation Category B shall be paid a Wetlands
Real Property Compensation Amount calculated as follows:

a. The Non-Oiled Primary Area shall be compensated at $4,500 per acre
(Non-Oiled Rate BY). See Appendix I for an example calculation of
Wetlands Real Property Compensation Amount on a hypothetical

parcel nm Compensation Category B.

Appendix J provides examples of the calculation of the Wetlands Real
Property Compensation Amount.

Eligible Parcels shall be entitled to the mimmaum payments as outlmed below.

Appendix KE provides an example of the calculation for a nummmum Wetlands
Real Property Compensation Amount.

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a.Parcels m Compensation Category A shall be compensated for a
nimimum of one acre of Oiled Primary Area and a minimum of one
acre of Buffer Area, equal to a total of $35,000.

b. Parcels in Compensation Category B shall be entitled to
ee ee Or Nem ned Premary

Area, equal to $4,500.

D. An RTP of 2.5 shall be applied to the Wetlands Real Property Compensation Amount.
For example, a hypothetical Wetlands Real Property Compensation Amount of
$38,788 (refer to Appendix K), would receive an RTP equal to $96,970 for a total
Wetlands Real Property Compensation Amount of $135,758 inclusive of RTP.

E. The Wetlands Real Property Compensation Amount shall be allocated as follows:

t= For an Eligible Parcel for which there is only one Eligible Claimant, the
Eligible Claimant shall receive the entire portion of the Wetlands Real

Property Compensation Amount.

ti => For an Eligible Parcel for which there is more than one Eligible Claimant, the
Wetlands Real Property Compensation Amount shall be allocated based on the
period of legal possession of the particular Eligible Parcel by each Eligible
Claimant between Apml 20, 2010, and [the date of the Settlement Agreement].
The allocation shall be detemmned by dividing the Wetlands Real Property
Compensation Amount by the mumber of days between Apml 20, 2010 and [the
date of the Settlement Agreement) and then nmultplying the result by the mumber
of days each Eligible Claimant had legal possession of the Eligible Parcel.

im. The Claims Admmustrator shall determine whether an Eligible Claimant(s) is the
owner of an Eligible Parcel

3. Physical Damage to Real or Personal Property

A. Physical Damage shall be defined as any physical damage that occured to an Eligible
Claimant's real or personal property located on an Eligible Parcel(s) m connection with
the DWH Spill response cleanup operations that were consistent with the National
Contingency Plan or specifically ordered by the Federal On-Scene Coordinator or
delegates thereof, with the exception of any damage clamed for mirusion of oil,

or other substances onto the Eligible Claimant’s Ehgible Parcells).
for clams of intrusion of oil, dispersants or other substances on an Eligible Parcel are
addressed im Section 2. B. above.

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Some examples of Physical Damage mchade but are not muted to Physical
Damage that occurred to a dock, a building, a structure, appurtenances, a patio, or
a deck located on an Eligible Parcel caused by a vehicle, machinery or equipment

mm wse for DWH Spill response cleanup operations.

B. An Eligible Claimant must provide the Clams Adnumstrator with satisfactory proof of
all of the followme items below im order to qualify to recerve compensation for Physical
Damage:

L

Iv.

We.

The clammant is an Eligible Claimant.
The clamed Physical Damage occured on an Eligible Parcel.

The Physical Damage occurred between Apml 20, 2010 and the date the
Econonuc Injury and Property Clam Settlement Agreement is executed by the
parties.

The condition of the real or personal property prior to the claimed physical
damage.

The Eligible Claimant owned the real or personal property for which Physical
Damaged 1s clammed at the time the damage occurred. The Claims Administrator
shall determine whether an Eligible Claimant(s) is the owner of the personal
property.

The Physical Damage was caused by DWH Spill response cleanup operations.

For an Eligible Claimant claiming to have incurred costs to repair or replace the
damaged property, evidence to establish that the costs were mcwred by the
Eligible Claimant and that they were reasonable and necessary.

For an Eligible Claimant seekmg compensation for costs not yet curred to

repair or replace the damaged property, a cost estimate and proof the costs are
reasonable and necessary.

C. An Eligible Claimant must comply with the Claim Form, Document Requirements
and Verification Statement listed m Appendices E. F and G im order to qualify to
Tecerve compensation for Physical Damage.

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D. An Eligible Claimant who claims Physical Damage and satisfies Section 3. A, 3. B and
3. C above shall recenve the lesser of the reasonable and necessary costs to repair or
Teplace the damaged property.

Ls The Claims Admimustrator shall have the authority to venfy the Eligible
Claimant's estimate of repair and replacement costs, and to undertake an
Investigation to detemmme the reasonableness of the costs to repair or replace the
damaged property, including obtamme an independent estimate.

m Innoeventis an Eligible Claimant entitled to recerve pursuant to this Section 3
damages for intrusion of oil, dispersants or other substances onto the Eligible
Claimant’s Eligible Parcel(s). Compensation for claims of mtrusion of oil,
dispersants or other substances on an Eligible Parcel are addressed in Section 2.
B above.

4. Federal and State Regulatory Requirements

A. Nothing m tis Compensation Framework for Coastal Real Property Claims shall
alter, expand, or reduce BP’s obligations for cleanup, removal, spill response and
remediation of real property under applicable federal, state, or local laws, regulations,
orders, or agreements. Eligible Claimant shall acknowledge that amy nght to require any
cleanup or remediation of the parcel shall not he with the claimant, but solely with
governmental authorities, and that the need for any cleanup or remediation, and the
standards by which the need for or sufficiency of such remediation 1s decided, shall be
detemumned by governmental regulators of the executive department in accordance with
properly promulgated law, rules, regulations, orders or agreements. Such governmental
Tegulators alone shall make such determmations, and the Eligible Claimant shall not
employ regulatory proceedings as a means to seek the redress of clams, which are
extinguished pursuant to this Settlement Agreement. It 1s expressly agreed that this
acknowledgement of contimued potental responsibility for governmental compliance on
the part of the BP (and all other parties released) shall not grant the claimant amy personal
jurisdiction recourse with respect to the regulatory obligations of the released partes. In
the event proceedings, formal or mformal, occur before governmental authorities, the
claimant agrees to cooperate fully with the released parties mm addressing questions or
concems presented by such proceedmes; the Eligible Claimant shall provide full and
free access to the Eligible Parcel m connection therewith, and shall further cooperate
with the released parties m undertaking and proposime by the released parties such
remediation that the released parties deem most appropmate, desirable, and/or cost-
effective mm meeting regulatory requirements, umespective of any personal claims,

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preferences, nghts of use or simular considerations of the Eligible Claimant, it beg
understood that such personal claims and considerations fall within the scope of the
claims released by the Eligible Claimant.

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Compensation Framework for Wetlands Real Property Claims
Appendix A
Wetlands Real Property Compensation Zone Map

The Wetlands Real Property Compensation Zome Map 1s found m a separate document.

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Compensation Framework for Wetlands Real Property Claims
Appendix B
Criteria Used to Establish the Wetlands Real Property Claim Zone
The following cniteria were used to establish the Wetlands Real Property Claim Zone:

1. Areas directly intersected by the SCAT Lime, regardless of whether or not the presence of oil
was reported on that portion of the SCAT Lime, depicted below:

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2. Parcels m which an NRD Pre-assessment, NRD Rapid Assessment, and’or NRD CWVA
reported the presence of oil, depicted below:

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eee ifr]

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3. Where there is a break m an otherwise contmmmous portion of a SCAT Lime, BP and the PSC
jountly selected parcels that would have hkely been mtersected by the SCAT Lime if tt had
been continuous.

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The zone geography 1s based on Tobin Digital Ownership maps published by P2 Energy
Solutions im Cameron, Calcasieu, Ibena, St. Mary, Ibena, Lafourche, Jefferson, Plaquemunes,
and St. Bemard Panshes. In Terrebonne Pansh, the zone geography 1s based on parcel
boundanes published by the Terrebonne Pansh Tax Assessor.

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Compensation Framework for Wetlands Real Property Claims
Appendix C
Eligible Parcel Compensation Category Map

The Eligible Parcel Compensation Category Map is found ma separate document.

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Compensation Framework for Wetlands Real Property Claims

Appendix D
Area of Potential Eligibility Map

The Area of Potential Eligibility Map is located m a separate document.

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Compensation Framework for Wetlands Real Property Claims
Appendix E
Wetlands Real Property Claim Form

1. Are you clamung you are entitled to compensation for one or more parcels you owned dunng
the time penod Apnl 20, 2010 to [the date of the Settlement Agreement] under the
Compensation Framework for Wetlands Real Property Claims?

2. If you answered yes to Question 1, are you also clauming you are entitled to compensation for
physical damage that occurred to your real or personal property located on your parcel(s) m
connection with the DWH Spill response clean-up operations during the time peniod Apnl
20, 2010 to [the date of the Settlement Agreement]?

Ifyou answered yes to any of the questions above, (i) answer the questions below, (ii) provide
the documentation required in the Document Requirements form (Appendix F), and (iii)
complete a Wetlands Real Property Verification Statement (Appendix G).

3. What is the street address of the parcel(s)?

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4. What is the tax assessment identification number of the parcels)?

5. What is the parcel identification number of the parcel(s)?

You must only answer the following questions if you claim you are entitled to compensation for
physical damage that occurred to your real or personal property located on your parcel(s).

6. Identify and descnbe the real or personal property that you claim was physically damaged in
connection with the DWH Spill response cleanup operations.

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7. Desenbe the physical damage that you claim occurred to your real or personal property
located on your parcel(s) in conection with the DWH Spill response clean-up operations.

8. Where on your parcel was your real or personal property located when the damage occurred?

9. When did the physical damage to your real or personal property occur?

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10. Descnbe in detail what caused the physical damage to your real or personal property.

11. If you know, were the DWH Spill response cleanup operations that you claim caused the
physical damage to your real or personal property comsistent with the National Contingency
Plan or specifically ordered by the Federal On-Scene Coordimator or delegates thereof?

Yes No I Don’t Know

12. If you know, who caused the physical damage to your real or personal property?

13. Descnbe the condition of the real or personal property prior to the damage you claim
occumed.

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14. Did you own the real or personal property that you claim was damaged at the time the
damage occured?

15. Have you already mcurred the cost to repair or replace the real or personal property that you
clam was physically damaged?

16. If your answer to Question 15 is yes, please identify the following:

a. Was the damaged property repaired or replaced?

b. Ifthe damaged property was replaced, state the reasons that the property was replaced
instead of being repaired.

c. Ifthe damaged property was replaced, state the name and address of the individual or
business from which the replacement was obtamed and the cost you mecurred to

replace the property.

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d. Ifthe damaged property was repaired, state the name and address and telephone
number of the individual or busmess that did the repairs, the cost you Incurred to
repair the property, and identify the repairs that were done.

17. If the answer to Question 15 is no, please identify the followme:

a. State whether the damaged property can be repaired:

b. Ifthe damaged property can be repaired, have you obtamed a cost estimate to repair
the damaged property?

c. If you have obtamed a cost estumate to repaur the damaged property, state the name
address and phone number of the individual or entity that provided the cost estimate,
what repairs are being done and the amount of the cost estimate for the repairs.

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d. If you clam that the damaged property cannot be repaired, expla the reasons for
your claim.

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Compensation Framework for Wetlands Real Property Claims

Appendix F
Wetlands Real Property Claim Form
Document Requirements

To receive compensation under the Compensation Framework for Wetlands Real Property
Claims you must provide copies of the documents described below.

1. Ovmers of parcels) seeking compensation under the Compensation Framework for
Wetlands Real Property Claims must prowide the following:

a. Official copy of the deed for the parcel for which you are seekmg compensation.

1. To the extent a state, pansh, mumicipality or other governmental agency
agrees to provide the Clams Admuustrator with access to an official database
sufficient for the Claims Admumistrator to comfimm the claimant owned the
need not require from the Eligible Claimant an official copy of the deed or
official copy of the 2010 property tax assessment notice for the parcel for
which they are seeking compensation. Rather, the Clams Admumistrator is
authonzed to accept from the clamant the street address and tax identification
number of parcel identification number for the Eligible Parcel for which they
are seeking compensation as sufficient to satisfy this subpart, and the Claims
Adnumstrator will use the database to confimm the claimant*s valid ownership
dunng the tme penod April 20, 2010 to [the date of the Settlement

Agreement].
b. Official copy of the 2010 property tax assessment notice.”

i. To the extent a state, pansh, municipality or other governmental agency
agrees to provide the Claums Admuustrator with access to an official database
sufficient for the Claims Admumistrator to comfimn the claimant owned the
need not require from the Eligible Claimant an official copy of the deed or
official copy of the 2010 property tax assessment notice for the parcel for
which they are seeking compensation. Rather, the Clams Admumisirator 1s

* Tn some counties, issuance of 2010 tax assessment notices may occur poor to April 20, 2010
such that the correct owner of the eligible parcel may not be reflected, (for example if notices
were mailed January 2010 but ownership changed Febmary 2010). In such a case, a clammant
may provide other documentation such as a copy of the real estate closme/settlement statement

from a sale, m order to prove ownership.

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authonzed to accept from the clamant the street address and tax identification
number of parcel identification number for the Eligible Parcel for which they
are seeking compensation as sufficient to satisfy this subpart, and the Claims
Adnumstrator will use the database to confimm the claimant*s valid ownership
dunng the time penod April 20, 2010 to [the date of the Settlement

Agreement].

c. If you believe your parcel should be added to the Wetlands Real Property Claim
Zone (see Section 1. E.), documentation showime a parcel contains the presence of oil
pursuant to SCAT or by an official assessment conducted by the Natural Resource
Trustees in commection with the DWH Spill.

d. If your parcel is not identified m the Wetlands Real Property Claim Zone and
should be (see Section 1. F.1.), an official document provided by the county tax
assessor, Clerk of Court, Registrar of Lands or other governmental lands office or
agency, or a professional survey of the parcel showing actual presence of the parcel
within the Wetlands Real Property Claim Zone.

e. If you believe the Administrator’s Database does not list you as the owner of a
parcel m the Wetlands Real Property Claim Zone that you own (see Section 1. G_1.

-11.), an official copy of the deed and the 2010 property tax assessment notice for the
parcel.

£ If you believe your parcel should be reclassified from Compensation Category B to
Compensation Category A (see Section 1. H.1.), imdependent documentation in the
form of a government or academuc report, not commussioned by the Eligible
Claimant or the Ehgible Claimant's attomey or agent, with said mdependent
documentation establishing that the Eligible Parcel contains the presence of oil
Teleased by the DWH Spill.

g. Completed Verification Statement.

2. Owners of parcel(s) seeking compensation for physical damage to real or personal property
pursuant to Section 3. B. of the Compensation Framework for Coastal Real Property
Claims, noust provide the Claims Admumstrator proof of the items below. Proof may consist

of documents, receipts, photographs, videotaped footage, a sworn statement from the
clamant and swom statements from a witness(e3).

a. The claimed physical damage to your real or personal property occured on a parcel
listed m the Claim Form.

b. The physical damage occured between Apnl 20, 2010 and [date of settlement
agreement].

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Gasen771 PornanOsa TY PaGIRRDRS TROCRTt RAO FiRGCRRAAS Page 36 ori

c. The condition of the real or personal property prior to the clammed physical damage.
d. You owned the real or personal property at the time the physical damage occurred.
e. The physical damage was caused by DWH Spill response cleanup operations.
£ If you claim to have incurred costs to repaur or replace the damaged property,

evidence to establish that the costs were mcurred by you and that they were
reasonable and necessary.

g. If you are seekmg compensation for costs not yet curred to repair or replace the
damaged property, a cost estimate and proof the costs are reasonable and necessary.

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Compensation Framework for Wetlands Real Property Claims
Appendix G
Wetlands Real Property Verification Statement

I, , owned my parcel dunmg the period Apml 20, 2010 to
[the date of the Settlement Agreement].

T declare and affirm under penalty of perjury under the laws of the United States of Amemeca that
the foregomg 18 true and correct.

Signature

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Compensation Framework for Wetlands Real Property Claims

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Appendix : .
Example of Wetlands Real Property Compensation Amount" on Hypothetical Parcel In
Compensation Category A

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Oiled Primary Area Buffer
30 t depth inland of the entire
length of the Qiled Primary
Area

Buffer Rate:

$10,000 / acre of Primary Area
50

Depth (ft)

30 —+—

Oiled Primary Area
50 ft depth from SCAT Line

Oiled Rate:
$25,000 / acre of Pomary Area

Nom-Oiled Primary Area
30 ft depth from SCAT Lime

Non-Oiled Rate:
$11,000 / acre of Primary Area

AN

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ye
----- Parcel Boundary = Qiled SCAT Zone

Yv
Non-Qiled SCAT Zone

=P The Tnal compensation amount shown in this Appendix is exclusive of an RTP of 2.50.

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Compensation Framework for Wetlands Real Property Claims

Appendix I
Example of Wetlands Real Property Compensation Amount’ on Hypothetical Parcel in
Compensation Category B
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—-——-—- Parcel Boundary Non-Oiled SCAT Zone

* The final compensation amount shown m this Appendix is exclusive of an RTP of 2.50.

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Compensation Framework for Wetlands Real Property Claims

Appendix J
Calculation Examp

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ation Amount®
Example 1 — Compensation Category A: Parcels Documented as Oiled by SCAT

Key Field Formula Values
A Oiled SCAT Zone Length () 1,500
B Oded Prmary Area Depth (Section 2. (C. m) (8) 50
C Oded Primary Area (#7) AxE 75,000
D Oded Prmary Area (acres) Cf 43560 # 1.72
E Oded Rate (Section ?.C. vi a) $25,000
F Oded Primary Area Compensation DxE $43,044
G Oded Buffer Promoary Area Depth (Secton 2. C. wv.) (2) 30
H Oiled Buffer Primary sArea (8°) AxG 45.000
I Oded Buffer Promary Area (acres) H / 43,560 ir 1.03
J Buffer Rate (Section ?.C. vi b.} $10,000
E Oded Buffer Primary Area Compensation Ix] $10,331
L Non Oded SCAT Zone Length (ft) 1,800
Mo = - Non Oded Primary Area Depth (Section 2. C. vw.) () 30
NM Non-Oded Primary Area (4°) LxM 54.000
QO Non Oded Prmary Area (acres) N / 43,560 2 1.24
P Non-Oled Rate (Section 7. C. vic.) $11,000
Q WNon-Oiled Primary Area Compensation OxP $13,636
R Wetlands Real Property Compen:ation Amount F+E+0 $67,011

* The final compensation amount shown m this Appendix is exclusive of an RTP of 2.50.

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Compensation Framework for Wetlands Real Property Claims
Appendix J
Calculation Example of Wetlands Real Property Compensation Amount®
Example 2— Compensation Category B: Parcels not Documented as Oiled by SCAT

Key Field Formula Talmes
A Oied SCAT Zone Length (f) -
B Oded Promary Area Depth (Section 2. C_ a) () 50
C Oiled Primary Area (8°) AxB -
D = Oiled Promary Area (acres) C43 5602 -
E Oded Rate (Secton 2. C. wa.) $25,000
F Ofed Promary Area Compensation DxE -
& Oded Bufér Pomary Area Depth (Section 2. C. nr) (HR) 30
H = Oiled Buf Primary Area (f°) AxG -
I = Qed Bufr Primary Area (acres) H/ 43,5608 -
J Buffer Rate (Secton 2. C_ wi b.) $10,000
EK Oiled Buffer Pamary Area Compensation IxJ -
L WNon-Oded SCAT Zone Length (i) 2,000
M Non-Oded Prmary Area Depth (Section 2. C. v.) (8) 30
N = Non-Oiled Primary Area (#°) LxM 60,000
QO  WNon-Oiled Promary Area (acres) N/43,560 4° 1.38
P WNon-Oded Rate B (Secton?.C. vi a.) $4,500
QO Non-Oded Primary Area Compensation OxP $6,198
RK Wetland: Real Property Compensation Amount F+E+ $6,198

* The final compensation amount shown m this Appendix is exclusive of an RTP of 2.50.

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Compensation Framework for Wetlands Real Property Claims
Appendix K
Calculation Example of Minimum Wetlands Real Property Compensation Amount”
Compensation Category A: Parcels Documented as Oiled by SCAT

Key Field Formala Values
A Oiled SCAT Zone Leneth (ff) 450
B Oiled Primary Area Depth (Section 2. C. ai) (&) 50
© (Oiled Primary Area (#*) AxE 22,500
D Oiled Primary Ama (acres) chaser 0.92
E Minne Oied Proary Area (acres) - 1? Oded Prmary Area = 1 acte 1.0
F Oiled Rate (Section 2. C. via) $25,000
G Oiled Primary Area Compemation ExF $25,000
H = Oiled Buf Primary Area Depth (Section 2. C. iv.) (ff) 0
Is Qed Buffer Primary Area (f°) AxH 13,500
J Oiled Bufér Primary Area (acres) 1/ 43,560 # 0.31
EK Minium Oded Buffer Primary Area (acres) - [fied Primary Area = 1 ace 1.00
L Buffer Rate (Section 2. C. vib.) $10,000
M os Oed Buffer Promary Area Compemation ExL $10,000
N= Now-Oied SCAT Zone Leneth (ff) 500
O MNow-Oded Prmary Area Depth (Section 2. C. v.) (8) 0
P  Non-Oded Primary Area (f°) No 15,000
Q Non-Oied Primary Area (acres) P/ 43,5602" 0.34
R Now-Oied Rate Section? C. vic} $11,000
S NonOiled Primary Ares Compensation QOxk $3,758
T Wetlands Real Property Compensation Amount G+M+5 $35,738

* The final compensation amount shown in this Appendix is exclusive of an RTP of 2.90.

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Appendix A: Wetlands Real Property Claim

Louisiana (Detailed Portion 4)

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Zone A
Zone B

Louisiana (Detailed Portion 3)

Appendix C: Eligible Parcel Compensation

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Appendin

St. Tammany Parish and Orleans Parish, LA

Ares of Potential Eligability

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EXHIBIT 13A
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l. Eligibility Requirements

A. Real Property Sales Compensation Zone shall be defied as Residential Parcels identified
m the Real Property Sales Compensation Zone Map as attached as Appendix A.

B. Residential Parcels shall be defined as those parcels within the Real Property Sales
Compensation Zone identified in the Real Property Sales Compensation Zone Map for
which the county where the parcel 1s located has designated the parcel as a residential
classification.

C. There are two mstances m which parcels not identified as Residential Parcels on the Real
Property Sales Compensation Zone Map shall nonetheless be treated as Residential
Parcels within the Real Property Sales Compensation Zone:

a. fan Eligible Claimant can document the followmg: (1) actual presence of a
parcel for which there are no parcel lines on the Real Property Sales
Compensation Zone Map, (11) the parcel is located with the geography identified
in the Real Property Sales Compensation Zone Map, and (1) the county where
the parcel is located has designated the parcel as a residential classification, then
the parcel shall be treated as a Residential Parcel with the Real Property Sales
Compensation Zone. Documentation must consist of an official document

provided by the county assessor or a professional survey of the parcel.

b. Ifan Eligible Claimant can document the followmg: (1) the parcel is musclassified
as nou-residential parcel on the Real Property Sales Compensation Zone Map, and
(ii) the parcel is located within the geography identified m the Real Property Sales
Compensation Zone Map, then the parcel shall be treated as a Residential Parcel
within the Real Property Sales Compensation Zone. Documentation nmst consist
of an official document provided by the county assessor such as a 2010 county tax
notice classifying the parcel as residential.

D. Eligible Clammants shall be comprised of sellers of Residential Parcels withm the Real
Property Sales Compensation Zone who are included m the Economic Injury and
Property Claim Settlement Class Definition’ and who satisfy the following criteria:

a. owned a Residential Parcel im the Real Property Sales Compensation Zone on
Apnil 20, 2010; and

' Note: The most current definitions of the Econonuc Injury and Property Claim Settlement
Class Definition are included im the draft Economic Injury and Property Claim Settlement
Agreement forwarded by BP to the PSC on December 4, 2011 and im the class definition
document bates numbered 005123 to 3128 and dated December 20, 2011.

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b. executed a sales contract for the sale* of that Residential Parcel that meets the
followime, criteria:
i The sales contract was executed on or after Apnl 21, 2010 and the sale
closed durmg the time period Apml 21, 2010 to December 31, 2010. OR

iL The sales comtract was executed before Apnl 21, 2010, but the contract
price was reduced as a result of the Deepwater Honzon Spill (DH Spill).
Additionally, the sale must have closed dunmg the time period Apml 21,
2010 to December 31, 2010.

E. Pursuant to sub-sections (A) to (C) above, the followme parcel types are not among the
parcels for which a clamant is eligible to be compensated mn tus MDL class settlement:

a. Residential Parcels withm the Real Property Sales Compensation Zone sold
before Apnl 21, 2010 or after December 31, 2010;

b. Residential Parcels withm the Real Property Sales Compensation Zone sold
dung the time period April 21, 2010 to December 31, 2010, but

1 The sales contract was executed before Apml 21, 2010 and the contract
price was not reduced prior to the closmg. OR

iL The sales contract was executed before Apnl 21, 2010 and the contract
price was reduced but not as a result of the DH Spill

c. Residential Parcels located outside of the Real Property Sales Compensation
Zone:

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d Non-Residential Parcels located withm or outside the Real Property Sales
Compensation Zone.
A clam that may exist, if amy, with respect to parcels of the type identified m sub-
sections (a) to (c) above, 13 not subject to this Settlement Agreement or barred by the
Order approving this Settlement Agreement.

2. Compensation for Real Property Sales

A. An Eligible Claimant must subnut a claim form and supporting documentation. The
Claim Form 1s attached as Appendix B.

B. Aclamant who satisfies the Ehgibility Requirements m Section 1 above shall be entitled
to receive the Real Property Sales Compensation Amount for the Residential Parcel. The
Real Property Sales Compensation Amount shall be calculated as follows:

* Sales shall not include transfers from borrowers to lenders that take place as part of the
foreclosure process, such as deeds in beu of foreclosure, foreclosure deeds, Shenff's deeds.

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a. The sale pnce of the Residential Parcel shall be multiplied by the Real Property
Compensation Percentage of 12.5%. A detailed description for calculation of the
Real Property Sales Compensation Percentage is contamed m Appendix C.

b_. Any prior compensation to the clammant from the GOCF or BP for a claum related
to the sale of the Residential Parcel shall be deducted.

c. The Real Property Sales Compensation Amount shall be allocated among Eligible
Claimants accordime to their ownership interest.

Example

An Eligible Clammant who submits a claim form and supporting documentation for a sale of a
Residential Parcel with a sale price of $200,000, with no former co-owners, and no pnor GCCF
or BP payment for the same property damage would receive compensation of $25,000.

Residential Parcel Sale Price x Real Property Sales Compensation Percentage =
Real Property Compensation Amount

$200,000 x 12.5% = $25,000

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Appendix A
Real Property Sales Compensation Map

The Real Property Sales Compensation Zone Map is found in a separate document.

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Appendix B
Real Property Sales Claim Form

. Did you own a Residential Parcel within the Real Property Sales Compensation Zone identified on the
Real Property Sales Compensation Zone Map on Apml 20, 20107

Yes No
. Did you execute a sales contract for the sale of that Residential Parcel?
Yes No

. Did you close on that sale of that Residential Parcel on or before December 31, 2010?

Jf you answered yes to all of the questions above, please (4) answer questions 4 through 10 below and (B)
provide copies of the documents required below.

Ifyou answered no to any of the questions above, you are not eligible for compensation under the Real

Property Sales Compensation Framework portion of the Settlement Agreement and you should not
complete or submit this form.

4 What date did you execute your sales contract?

3. If you executed your sales contract before Apml 21, 2010, was the contract pce reduced at some pot

before closing?

Yes No

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6. Ifthe contract price was reduced at some pout before closing, why was the price reduced?

7. What is the street address of the Residential Parcel?

&. In what county is the Residential Parcel located?

9. What is the parcel identification number for the Residential Parcel?

10. What 1s the tax identification assessment number for the Residential Parcel?

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Document Requirements

Ifyou answered yes to questions J through 3 above, please provide copies of the following documents.

1.

Official copy of the deed for the Residential Parcel sale that took place during the time period
April 21, 2010 to December 31, 2010.

Copy of the signed sales contract(s) for the sale that took place dummg the time period Apnl 21,
2010 to December 31, 2010.

* Ifyou answered yes to question mumber 5 above, provide a copy of both the sales
coutract executed before Apnl 21, 2010 and a copy of the sales comtract executed on oF
after April 21, 2010.

If you answered yes to question mumber 5 above, provide the supportmg documentation to
demonstrate why the contract pnce was reduced For example, provide the letter from the
purchaser or the purchaser's real estate attomey requesting the reduction. If you have no
documentation, provide contact information for the purchaser.

Copy of the closing statement for the sale that took place dummg the tame period Apml 21, 2010
to December 31, 2010-

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Appendix C
Detailed Description

Real Property Sales Compensation Zone consists of Residential Parcels identified in Real
Property Compensation Map.

b) Real Property Sales Companson Zone consists of Improved residential parcels im the

counties in Real Property Compensation Map not im the Real Property Sales
Compensation Zone.

Sale Poe is the actual sale price of the parcel.

Benchmark Price is an estimate of the value of the parcel at the time of sale based on the
2010 county appraised value. The fomuula ts for the Benchmark Price 1s:

2010 County-Appraised Value

Sales-Appraised Value Ratio (expressimg the value as of 1/1/10)

Change in HPT for MSA" of parcel (expressing the value as of 3/31/10)
Change in HPT for non-Gulf MSA (expressing the value at the date of sale)

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Benchmark Price

Sales to Appraised Value Ratio 1s calculated as follows. For each arms-length sale of
maproved residential parcels m the region durmg 2009 the Sale Price 1s divided by the
2010 County Appraised value.’ The Sales to Appraised Value Ratio is the average of
these values. A separate Sales-Appraised Value Ratio 1s calculated for condonmmmums

and single-family homes.
The formula for Sales to Appraised Value Ratio is as follows:

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Sales — Appraised Value Ratio =

Where i represents each mdividual parcel in the region and n represents the total mumber
of parcels im the region.

Change in HPI for MSA of parcel is the percentage change from January 1, 2010 to
March 31, 2010 im the HPI for that MSA. See Table 1, Pre-Spill column.

* Howse Price Index (HPT) is the index of price changes in each MS.A, a5 compiled by the Federal Housing Finance

Agency.

* Metropolitan Statistical Areas (1S.As) are seoeraphical somes defined by the U.S. Office of Management and
Budget. Ifa sale occured mn a county without an MS.A, the most samilar suroundime MSA was wed Non-Gulf
MSAs are sumounding MMS.As that are not on the Gulf comet

* Before a Sales to Appraised Value Ratio is determined, (1) 2009 Sales Prices are adjusted to account for the
change in real estate values between the sale of those parcels and January 1, 2010 (See Table 2); amd (27) the top and
bottom 24% of parcels ane eenchaded — based on the ratio of 2008 sales prices to 2010 assessed valnes.
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g) Change in HPI for the Non-~Gulf MSA ts the percentage change m the HPI for the Non-
Gulf MSA that is most sumuular to the parcel’s MSA between March 31, 2010 and the
quarter of the date of sale forthe parcel. See Table 1, Post-Spill colomm.

h) Real Property Sales Compensation Zone Percentage 1s the weighted average percentage
difference between Sales Prices and Benchmark Pnices for all Real Property Sales
Compensation Zone parcels sold m arms-length transactions dunng Apnil 21, 2010

through December 31, 2010.

The formula for Real Property Sales Compensation Zone Percentage is as follows:

Real Property Sales Compensation Zone Percentage
_ Pea Sales Price Real Property Sales Compen:ation Zone, — Benchmark Price Real Property Sales Compensation Zone,
bey ales Price Real Property Sales Compensation Zone,

Where i represents each individual parcel and n represents the total number of parcels.

1) Real Property Sales Companson Zone Percentage is the weighted average percentage
difference between sales prices and Benchmark Prices for all mmproved residential parcels

sold im armms-length transactions im the region except Real Property Sales Compensation
Zone parcels durmg April 21, 2010 through December 31, 2010.

The formula for Real Property Sales Companson Zone Percentage is as follows:

Real Property Sales Comparison Zone Percentage

_ Ej, Sales Price Real Property Sales Comparison Zone, — Benchmark Price Real Property Sales Comparison Zone
Tr_, oales Price Real Property sales Companson Cone,

Where i represents each individual parcel and n represents the total number of parcels.

jy) Real Property Sales Compensation Amount shall be defined as the Real Property Sales
Compensation Zone Percentage subtracted from the Real Property Sales Companson

#one Percentage plus the Real Property Sales Compensation Zone Adjustment
Percentage.

The formula for the Real Property Sales Compensation Amount 1s as follows:

Real Property Sales Companson Zone Percentage
Real Property Sales Compensation Zone Percentage
Real Property Sales Compensation Zone Adjustment Percentage

Wy+ |

Real Property Sales Compensation Percentage

* When calculating average differences between Sales Prices and Benchmark Prices, the top and bottom 2.5% of
parcels are exchided — based on the ratio of 2010 sales prices to 2010 assessed values.
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EXHIBIT 13B
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